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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS


DONALD THOMAS SCHOLZ
                Plaintiff(s)

                    v.                                         CIVIL ACTION NO.13-10951-DJC


BARRY GOUDREAU
                           Defendant(s)


                                          JUDGMENT IN A CIVIL CASE

CASPER, D.J.



x        Jury Verdict. This action came before the court for a trial by jury. The issues have been tried and the jury
         has rendered its verdict.


x        Decision by the Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED

Pursuant to the Court’s summary judgment ruling, D. 113, and the jury’s verdict on November 1,
2016, D. 263, Judgment for Defendant Barry Goudreau on all claims brought by Plaintiff Thomas
Schulz against Defendant Barry Goudreau.
Pursuant to the Court’s summary judgment ruling, D. 113, and the jury’s verdict on November 1,
2016, D. 263, Judgment for Plaintiff Thomas Schulz on all counterclaims brought by Defendant
Barry Goudreau.



                                                               Robert M. Farrell, Clerk




Dated:    2/17/17                                                 /s/ Lisa M. Hourihan
                                                               ( By ) Deputy Clerk




NOTE: The post judgment interest rate effective this date is     %.
